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 8                        IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,              ) 2:13-CR-00380-JAM
                                            )
12               Plaintiff,                 ) STIPULATION AND ORDER VACATING
                                            ) DATE, CONTINUING CASE, AND
13         v.                               ) EXCLUDING TIME
                                            )
14   DANIEL SALINAS, and                    ) Status: February 17, 2015
     JORGE MOSQUEDA, JR.,                   ) Time:    9:30 a.m.
15                                          ) Judge:   Hon. John A. Mendez
                 Defendants.                )
16                                          )
                                            )
17

18                                      STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendants, by and through their counsel of record, hereby

21   stipulate as follows:

22      1. By prior order, this matter was set for a Status Hearing on

23         February 17, 2015.

24      2. By this Stipulation, the defendants now move to continue the

25         Status Hearing until March 17, 2015, at 9:15 a.m. and to exclude

26         time between the signing of this Order and March 17, 2015, under

27         Local Code T4.      The United States does not oppose this request.

28   ///


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 1         The parties anticipate presenting plea agreements to the Court

 2         or setting the matter for trial on March 17.

 3      3. The parties agree and stipulate, and request that the Court find

 4         the following:

 5            a. The United States provided discovery to the defendants on

 6               November 26, 2013, and December 6, 2013.

 7            b. Both defendants are out-of-custody and being supervised by

 8               Pretrial Services.

 9            c. Counsel for the defendants needs further time to review

10               discovery, conduct defense investigation, and discuss the

11               case with their clients.

12            d. Counsel for the defendants believe that failure to grant

13               the above-requested continuance would deny counsel the

14               reasonable time necessary for effective preparation, taking

15               into account the exercise of due diligence.

16            e. The United States does not object to this continuance.

17            f. Based on the above-stated findings, the ends of justice

18               served by continuing the case as requested outweigh the

19               interest of the public and the defendant in a trial within

20               the original date prescribed by the Speedy Trial Act.

21            g. For the purpose of computing time under the Speedy Trial

22               Act, 18 U.S.C. § 3161, within which trial must commence,

23               the time from the signing of this order, to March 17, 2015,

24               inclusive, is deemed excludable pursuant to 18 U.S.C. §

25               3161(h)(7)(A), (B)(iv) [Local Code T4] because it results

26               from a continuance granted by the Court at the defendants’

27               request on the basis of the Court’s finding that the ends

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 1               of justice served by taking such action outweigh the best

 2               interest of the public and the defendant in a speedy trial.

 3      4. Nothing in this stipulation and order shall preclude a finding

 4         that other provisions of the Speedy Trial Act dictate that

 5         additional time periods are excludable from the period within

 6         which a trial must commence.

 7   IT IS SO STIPULATED.

 8   DATED: February 12, 2015            /s/ Justin L. Lee   _
                                       JUSTIN L. LEE
 9                                     Assistant U.S. Attorney

10   DATED: February 12, 2015            /s/ Olaf Hedberg     _
                                       OLAF HEDBERG
11                                     Counsel for Daniel Salinas
                                       (as authorized on February 11, 2015)
12
     DATED: February 12, 2015            /s/ J. Patrick McCarthy     _
13                                     J. PATRICK MCCARTHY
                                       Counsel for Jorge Mosqueda, Jr.
14                                     (as authorized on February 11, 2015)
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17                                         ORDER
18         IT IS SO FOUND AND ORDERED, this 12th day of February, 2015.
19

20                                     /s/ John A. Mendez________________
21                                     Hon. JOHN A. MENDEZ
                                       United States District Court Judge
22

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     Stipulation to Continue                 3       United States v. Salinas, et al.
